                  Case 2:20-cv-00983-TSZ Document 50 Filed 10/19/21 Page 1 of 8




 1                                                                  THE HONORABLE THOMAS S. ZILLY
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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE WESTERN DISTRICT OF WASHINGTON

 9
         HUNTERS CAPITAL, LLC, a Washington
10       limited liability company, et al., on behalf of
         themselves and others similarly situated,              Case No. 2:20-cv-00983 TSZ
11

12                                    Plaintiffs,               STIPULATED DIGITAL
                                                                EXAMINATION AGREEMENT AND
13              vs.                                             ORDER

14       CITY OF SEATTLE,
                                      Defendant.
15

16              STIPULATED DIGITAL EXAMINATION AGREEMENT AND ORDER

17             Hunters Capital, LLC, et al. (“Plaintiffs”) and the City of Seattle (the “City”) jointly agree

18   to this stipulation and order (“Agreement”), which sets forth the full agreement between Plaintiffs

19   and the City for the inspection of forensic images or backups of certain City-issued cellular

20   telephones used by specific City officials1 (“Cell Phone Data”).

21   ///

22   1
      The relevant City officials are Mayor Jenny Durkan, former Police Chief Carmen Best, Fire Chief Harold Scoggins,
     Idris Beauregard, Christopher Fisher, Ken Neafcy, Eric Greening (the “Individuals”).
23

24
                                                                                                LAW OFFICES
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28
               Case 2:20-cv-00983-TSZ Document 50 Filed 10/19/21 Page 2 of 8




 1          1. Purpose

 2          The purpose of this Order is to (1) provide Plaintiffs’ forensic provider, Brandon Leatha

 3   (“Forensic Expert”), with access to the Cell Phone Data for testing, and (2) establish a protocol for

 4   delivery to the City of any lost or missing data recovered by the Forensic Expert.

 5          2. Source Materials to Forensic Expert

 6          The City shall provide the Forensic Expert with a detailed log of all sources of

 7   electronically stored information (“ESI”) that it has searched to produce text messages from the

 8   Individuals in this case, including any cloud-based storage accounts (the “Log”). The Log shall

 9   include available details about each source, including the make, model, serial number, or other

10   identifying information. Within fourteen days of the execution of this Agreement, the City shall

11   provide copies of any Cell Phone Data that were obtained by City’s forensics experts to the

12   Forensic Expert. The Cell Phone Data shall not be provided directly to Plaintiffs’ counsel.

13          If the Forensic Expert identifies additional sources of text message ESI not included in

14   the Log, Plaintiffs may request that the City collect this data (“Additional Cell Phone Data”) and,

15   if they do, the parties will meet and confer (see FRCP 26(f)) regarding the request within ten (10)

16   business days. Any Additional Cell Phone Data that the City agrees to collect will be provided

17   to the Forensic Expert within ten (10) days of the agreement. The parties agree to use the

18   procedure set forth in LCR 37(a)(2) for any disputes regarding the collection of Additional Cell

19   Phone Data or its provision to the Forensic Expert.

20          The City will make (1) Mayor Durkan’s City-issued “cracked screen” iPhone 8, (2) Chief

21   Best’s iPhone that she returned to the City on September 2, 2020, and (3) Chief Scoggins’ iPhone

22   that was factory reset in October 2020 available to the Forensic Expert for a physical inspection at

23   a mutually agreeable time and place.       Any such physical inspection shall occur via video

24
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               Case 2:20-cv-00983-TSZ Document 50 Filed 10/19/21 Page 3 of 8




 1   conference if a device is located outside the State of Washington at the time Plaintiffs request to

 2   inspect it. During the physical inspection of the devices, the Forensic Expert may look at only the

 3   following areas of the phone: the IMEI number, the serial number, the SMS retention settings,

 4   back-up information (iCloud or otherwise), the date of the last factory reset, the text messages and

 5   messaging apps (only to confirm the dates of available messages). No changes shall be made to

 6   any device settings during the physical inspection. The parties’ counsel shall not participate in the

 7   physical inspection of any cell phone device.

 8          3. Assessment of Cell Phone Data

 9          Subject to the terms of this Agreement, the City shall make the Cell Phone Data available

10   to the Forensic Expert for analysis. The Cell Phone Data will be provided to the Forensic Expert

11   in the same form that it was collected by the City.

12          The Cell Phone Data shall be subject to the following procedures:

13               a) Transfer of Cell Phone Data to Forensic Expert. The Forensic Expert shall
                    obtain the Cell Phone Data from the City at a mutually agreed upon date and
14                  time but before October 31, 2021.
15               b) Data Storage. The Cell Phone Data shall be stored on encrypted media and shall
                    be retained in a secure evidentiary or forensic lab at all times. Any transfer or
16                  transmittal of the Cell Phone Data shall be on encrypted media.
17               c) Forensic Analysis of Images. The Forensic Expert shall perform forensic
                    analysis of the Cell Phone Data for the time period of June 1, 2020 to October
18                  31, 2020 and provide the results of the forensic analysis in a report format to
                    both parties. The Forensic Expert shall start by analyzing the data from the
19                  cellular phones of Mayor Durkan, Chief Best, Chief Scoggins, and Idris
                    Beauregard. The Forensic Expert shall prepare a report relating to the remaining
20                  Cell Phone Data only at the request of Plaintiffs’ counsel. This forensic analysis
                    shall be marked “confidential” pursuant to the parties’ Protective Order, and
21                  shall include the following:
22                               •   Device Summary: The report should detail each cellular phone,
                                     including the device make, model, version, serial number, and
23                                   other identifying information, as well as the operating system,
24
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            Case 2:20-cv-00983-TSZ Document 50 Filed 10/19/21 Page 4 of 8




                               version, and installed software or applications.
 1
                           •   Meta Data Regarding Text Message Settings: To the extent
 2                             that any Individual’s text message ESI is not available due to
                               change(s) to text message retention settings, the report should
 3                             detail any changes to the “com.apple.mobileSMS.plist,”
                               “KeepMessageForDays,” and “KeepMessagesVersionID” files
 4                             and any other relevant facts relating to these changes.
 5                         •   Communications Applications: The report should detail the use
                               of any communications applications on the Individuals’ City-
 6                             issued cellular phones from June 1, 2020 to July 31, 2020, and
                               any evidence that such communications applications were
 7                             downloaded, updated, and/or removed from the subject devices.
                               Examples of communications applications include Facebook
 8                             Messenger, Twitter, Skype, Snapchat, WeChat, WhatsApp,
                               Signal, Viber, Tencent, Slack, Telegram, Line, Kik Messenger,
 9                             Kakao Talk, iMessage, GroupMe, Element, eBuddy XMS,
                               Discord, SMS/MMS, and other similar communications
10                             applications. In addition, the report should detail the presence
                               and date range of any communications from these applications
11                             included in the Cell Phone Data (but not provide any information
                               about the content of the communications).
12
                           •   Metadata Regarding Factory Reset: To the extent that any
13                             Individual’s text message ESI is not available due to a factory
                               reset, the report should detail the date, location, time, and any
14                             other relevant facts relating to the factory reset.
15                         •   Metadata Regarding Failed Credentials: To the extent that
                               any Individual’s text message ESI is not available due to failed
16                             credentials, the report should detail the date, location, time, and
                               any other relevant facts relating to the failed credentials.
17
                           •   USB and External Storage: This report should detail the use of
18                             external storage devices including USB flash drives, hard drives,
                               CD/DVD, SD cards, cellular phones, cameras, and other
19                             removable or portable storage devices that may have been used
                               to store the Individuals’ ESI and provide a detailed description
20                             of any such device.
21                         •   File Deletion: This report should detail all activity that may have
                               eliminated text message ESI from the Individuals’ cellular
22                             phones.
23                         •   Data Wiping and Hiding: This report should detail the use of
24
                                                                                  LAW OFFICES
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                   Case 2:20-cv-00983-TSZ Document 50 Filed 10/19/21 Page 5 of 8




                                      file wiping, disk cleaning, file encryption, or other anti-forensic
 1                                    tools or techniques which may have been used to eliminate or
                                      limit access to any text message ESI stored on the Individuals’
 2                                    cellular phones.
 3                                •   Comparison of ESI Available Versus Sources of ESI
                                      Searched: The report should identify any sources of text
 4                                    message ESI identified by the Forensic Expert but not identified
                                      in the Log.
 5
                                  •   Comparison of Forensic Images and Backups: The report
 6                                    should detail any differences between (1) the Cell Phone Data,
                                      and (2) the data the Forensic Expert would expect to obtain from
 7                                    such forensic images or backups.
 8   The forensic report prepared by the Forensic Expert may not excerpt and/or append any data and/or

 9   artifacts that are relevant to the report without first receiving confirmation from the City that the

10   information is not privileged or protected. The City shall have 14 calendar days to review the

11   forensic report prepared by the Forensic Expert, after which the Forensic Expert may produce the

12   forensic report to Plaintiffs’ counsel. If the City requests the redaction of any portion of the report,

13   the requested redaction(s) shall be made, and the City shall identify the applicable privilege or

14   protection on a privilege log within 30 calendar days of the production of the forensic report to

15   Plaintiffs.

16           4. Additional Sources of Text Message ESI to Be Identified

17           The Forensic Expert shall provide the parties with a detailed description of any sources of

18   text message ESI it discovers that were not identified in the Log. The Agreement Regarding

19   Discovery of Electronically Stored Information and Order (Dkt. 39) shall govern the search and

20   production of any such ESI.

21           5. Miscellaneous

22           Nothing in this Agreement shall be deemed to constitute a waiver of any objection that any

23   Party may have to any pending or future discovery request or deposition question, nor shall this

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                                                                                          LAW OFFICES
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               Case 2:20-cv-00983-TSZ Document 50 Filed 10/19/21 Page 6 of 8




 1   Agreement prevent any Party from objecting to production of documents or objecting to other

 2   discovery requests on any available grounds, or from seeking alternative protective orders from

 3   the Court.

 4          Nothing in this Agreement shall affect the right of a Party or non-party to disclose or use

 5   any information and items that it has designated as “Confidential” or “Attorney’s Eyes Only.”

 6          Nothing in this Agreement shall prohibit any Party from moving the Court for modification

 7   of this Agreement for good cause.

 8          The Forensic Expert will maintain the Cell Phone Data in confidence and disclose its work

 9   only to the extent authorized by this Agreement, a further agreement of the parties, or as ordered

10   by the Court. The Forensic Expert will destroy the Cell Phone Data upon a final order being issued

11   by the Court or, if an appeal is filed, after an appellate mandate terminating the case.

12          Except as specifically provided in this Agreement, the terms, conditions, and limitations of

13   this Agreement shall survive the termination of the above-captioned action.

14          Production pursuant to this Agreement shall not waive the parties’ rights to object to the

15   introduction of the evidence at trial.

16          6. Disputes Relating to this Order

17          The parties agree to utilize the procedure set forth under LCR 37(a)(2) for any disputes

18   pertaining to the enforcement of this Order.

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                                                                                        LAW OFFICES
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              Case 2:20-cv-00983-TSZ Document 50 Filed 10/19/21 Page 7 of 8




 1   DATED this 8th day of October, 2021.

 2   SO STIPULATED:
 3    CALFO EAKES LLP                          PETER S. HOLMES
                                               Seattle City Attorney
 4

 5    By /s/Gabriel Reilly-Bates               /s/ Joseph Groshong
        Patricia A. Eakes, WSBA #18888         Joseph Groshong, WSBA #41593
 6
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 7      Tyler S. Weaver, WSBA #29413           Seattle City Attorney’s Office
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 1                                       II.    ORDER
 2
            IT IS SO ORDERED.
 3

 4          Dated this 19th day of October, 2021.

 5

 6

 7
                                         A
                                         Thomas S. Zilly
 8                                       United States District Judge

 9
     Presented by:
10

11   CALFO EAKES LLP

12
     By /s/Gabriel Reilly-Bates
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     Angelo J. Calfo, WSBA #27079
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